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Attorney for Defendant




                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                      No. 3:20-cr-00464-SI

                               Plaintiff,      UNOPPOSED MOTION TO
                                               CONTINUE TRIAL DATE
                   v.

PHILLIP JOHN WENZEL,

                             Defendant.



      The defendant, Phillip Wenzel, through his attorney, Conor Huseby, respectfully

moves this Court for an order continuing the trial date in the above-entitled case for

approximately 90 days. Trial is presently scheduled for Tuesday, December 1, 2020. The

additional time is needed to obtain additional discovery, conduct investigation, research




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legal issues and file potential motions, and consult with Mr. Wenzel regarding his rights

and options.

       The government, through Assistant United States Attorney Pamela Paaso, has

been consulted about this continuance request and has no opposition to this motion to

continue the trial date.

       Mr. Wenzel understands that this motion will result in excludable delay under the

provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).

       Respectfully submitted this 17th day of November, 2020.

                                          /s/ Conor Huseby
                                          Conor Huseby
                                          Assistant Federal Public Defender




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